                Case 1:23-bk-11402-VK                  Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                    Desc
                                                       Main Document    Page 1 of 30

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Windsor Hayward Estates, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Windsor Post Acute Care Center of Hayward
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  7447 Sepulveda Blvd.                                          25919 Gading Road
                                  Van Nuys, CA 91405                                            Hayward, CA 94544
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                   Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                25919 Gading Road Hayward, CA 94544
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                 Case 1:23-bk-11402-VK                      Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                   Desc
                                                            Main Document    Page 2 of 30
Debtor    Windsor Hayward Estates, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 1:23-bk-11402-VK                          Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                      Desc
                                                                Main Document    Page 3 of 30
Debtor    Windsor Hayward Estates, LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                 Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                Case 1:23-bk-11402-VK           Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                               Desc
                                                Main Document    Page 4 of 30
Debtor   Windsor Hayward Estates, LLC                                                Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                 Case 1:23-bk-11402-VK                 Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                        Desc
                                                       Main Document    Page 5 of 30
Debtor    Windsor Hayward Estates, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 29, 2023
                                                  MM / DD / YYYY


                             X                                                                            Avrohom Tress
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X                                                                             Date September 29, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ron Bender 143364
                                 Printed name

                                 Levene, Neale, Bender, Yoo & Golubchik L.L.P
                                 Firm name

                                 2818 La Cienega Avenue
                                 Los Angeles, CA 90034
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (310) 229-1234                Email address      rb@lnbyg.com

                                 143364 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
     Case 1:23-bk-11402-VK             Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                       Desc
                                       Main Document    Page 6 of 30

Pending Bankruptcy Cases of Affiliates         Case Number        Date Filed            Location
S&F Home Health Opco I, LLC                    1:23-bk-11201-VK        8/23/2023        Central District of California
S&F Hospice Opco I, LLC                        1:23-bk-11202-VK        8/23/2023        Central District of California
S&F Market Street Healthcare, LLC              1:23-bk-11203-VK        8/23/2023        Central District of California
Windsor Care Center National City, Inc.        1:23-bk-11204-VK        8/23/2023        Central District of California
Windsor Cheviot Hills, LLC                     1:23-bk-11206-VK        8/23/2023        Central District of California
Windsor Country Drive Care Center, LLC         1:23-bk-11207-VK        8/23/2023        Central District of California
Windsor Court Assisted Living, LLC             1:23-bk-11208-VK        8/23/2023        Central District of California
Windsor Cypress Gardens Healthcare, LLC        1:23-bk-11209-VK        8/23/2023        Central District of California
Windsor El Camino Care Center, LLC             1:23-bk-11210-VK        8/23/2023        Central District of California
Windsor Elk Grove and Rehabilitation, LLC      1:23-bk-11212-VK        8/23/2023        Central District of California
Windsor Elmhaven Care Center, LLC              1:23-bk-11213-VK        8/23/2023        Central District of California
Windsor Gardens Convalescent Hospital, Inc.    1:23-bk-11214-VK        8/23/2023        Central District of California
Windsor Hampton Care Center, LLC               1:23-bk-11215-VK        8/23/2023        Central District of California
Windsor Monterey Care Center, LLC              1:23-bk-11216-VK        8/23/2023        Central District of California
Windsor Rosewood Care Center, LLC              1:23-bk-11217-VK        8/23/2023        Central District of California
Windsor Sacramento Estates, LLC                To be assigned      Filed Concurrently   Central District of California
Windsor Skyline Care Center, LLC               1:23-bk-11218-VK        8/23/2023        Central District of California
Windsor Terrace Healthcare, LLC (Lead Case)    1:23-bk-11200-VK        8/23/2023        Central District of California
Windsor The Ridge Rehabilitation Center, LLC   1:23-bk-11219-VK        8/23/2023        Central District of California
Windsor Vallejo Care Center, LLC               1:23-bk-11220-VK        8/23/2023        Central District of California
Case 1:23-bk-11402-VK      Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49              Desc
                           Main Document    Page 7 of 30



                      WINDSOR HAYWARD ESTATES, LLC
         MEMBER RESOLUTIONS RELATING TO CHAPTER 11 BANKRUPTCY CASE

                                   September 29, 2023

  The following Resolutions were duly enacted by a unanimous vote of the Members (the
  "Members") of Windsor Hayward Estates, LLC (the "Company"), and the same shall
  remain in full force and effect, without modification, unless and until the Members
  adopt a further resolution to the contrary:

              RESOLVED, that the Company shall file a voluntary petition under
              chapter 11 of the Bankruptcy Code on September 29, 2023 or such
              other date determined by Avrohom Tress (“AT”) to be in the best
              interests of the Company, its creditors and other parties in interest,
              after consultation with the Company’s counsel. AT is authorized to
              sign the voluntary bankruptcy petition and all related documents
              for the Company as the authorized representative of the Company,
              and AT is authorized to designate any other officer, professional or
              designated representative to sign any other documents on behalf of
              the Company.

              FURTHER RESOLVED, that the Company’s retention of Levene,
              Neale, Bender, Yoo & Golubchik L.L.P. (“LNBYG”) to serve as the
              Company’s bankruptcy counsel is approved upon terms that are
              mutually acceptable to the Company and LNBYG. AT, in his capacity
              as the authorized representative of the Company, is hereby
              authorized to negotiate the terms of the Company’s employment of
              LNBYG and to execute the Company’s retention agreement and/or
              bankruptcy employment application with LNBYG or to designate
              any other officer, professional or designated representative to sign
              any such documents on behalf of the Company.

              FURTHER RESOLVED, that, in his capacity as the authorized
              representative of the Company, AT is hereby authorized to cause
              the Company to employ any other professionals to represent or
              assist the Company in connection with the Company’s chapter 11
              bankruptcy case that AT deems to be in the best interests of the
              Company and to execute such other retention agreements and/or
              bankruptcy employment applications or to designate any other
              officer, professional or designated representative to sign any such
              documents on behalf of the Company.

              FURTHER RESOLVED, that following the filing of the Company’s
              chapter 11 bankruptcy case, AT, in his capacity as the authorized
Case 1:23-bk-11402-VK    Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49            Desc
                         Main Document    Page 8 of 30



            representative of the Company, is hereby authorized on behalf of
            and in the name of the Company to execute and file and to cause
            counsel to the Company to prepare with the assistance of the
            Company as appropriate all petitions, schedules, lists and other
            papers, documents and pleadings in connection with the Company’s
            bankruptcy case, and to take any and all action that AT deems
            necessary and proper in connection with the Company’s bankruptcy
            case without the need for any further approval of the Members
            unless the Members subsequently decide to the contrary. Such
            actions that AT has the authority to cause the Company to take
            without any further approval of the Members (unless the Members
            subsequently decide to the contrary) shall include, but not be
            limited to, all of the following: employing and compensating
            professionals; seeking Bankruptcy Court approval for the Company
            to use cash collateral and/or obtain post-bankruptcy financing and
            executing any agreements related to any of the foregoing;
            compensating employees; hiring and terminating employees;
            purchasing product or materials; selling product; entering into or
            continuing with agreements; collecting accounts receivable;
            negotiating with creditors, lenders, vendors, suppliers and
            landlords; assuming, assigning, or rejecting executory contracts and
            unexpired leases; renegotiating the terms of executory contracts
            and unexpired leases; signing new or amended contracts and
            leases; commencing and defending litigation involving the
            Company; selling or liquidating some or substantially all of the
            Company’s assets; causing the Company to propose a plan of
            reorganization or liquidation and related disclosure statement and
            to seek to confirm a plan of reorganization or liquidation; and
            causing the Company to take whatever steps are necessary to be in
            compliance with any orders of the Bankruptcy Court. AT is also
            authorized to designate any other officer, professional or
            designated representative to sign any documents related to any of
            the foregoing on behalf of the Company.

            FURTHER RESOLVED, that all prior acts and deeds of AT or the other
            officers of the Company acting in their capacity as an authorized
            representative of the Company, as the case may be, taken to carry
            out the intent and accomplish the purposes of the foregoing
            resolutions, are hereby approved, adopted, ratified and confirmed
            in all respects as the respective acts and deeds of the Company.




                                          2
Case 1:23-bk-11402-VK    Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49        Desc
                         Main Document    Page 9 of 30



          IN WITNESS WHEREOF, the above resolutions have been authorized, adopted,
  ratified and approved.

                                          MANAGER:



                                             ___________________________________
                                             AVROHOM TRESS




                                         3
           Case 1:23-bk-11402-VK                    Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                    Desc
                                                    Main Document    Page 10 of 30




Fill in this information to identify the case:

Debtor name         Windsor Hayward Estates, LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 29, 2023              X
                                                             Signature of individual signing on behalf of debtor

                                                             Avrohom Tress
                                                             Printed name

                                                             Manager
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                    Case 1:23-bk-11402-VK             Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                                  Desc
                                                      Main Document    Page 11 of 30

Fill in this information to identify the case:
Debtor name Windsor Hayward Estates, LLC
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                             Check if this is an
                                               CALIFORNIA - SAN FERNANDO
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
HEALTHCARE                                                                                                                                                    $790,015.29
SERVICES GROUP
INC
3220 TILLMAN DR
SUITE 300
BENSALEM, PA
19020
SELECT                                                                                                                                                        $545,890.38
REHABILITATION
PO BOX 71985
CHICAGO, IL
60694-1985
DEPARTMENT OF                                                                                                                                                 $320,159.11
HEALTH CARE
SERVICES
MS 1101 PO BOX
997415
SACRAMENTO, CA
95899-7415
ASHLEY CLINICAL                                                                                                                                               $240,635.00
DIAGNISTIC
LABORATORY IN
5542 N FIGUEROA
ST
LOS ANGELES, CA
90042
SKILLED NURSING                                                                                                                                               $191,145.75
PHARMACY
16666 E. JOHNSON
DRIVE
SUITE "C"
CITY OF INDUSTRY,
CA 91745




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                    Case 1:23-bk-11402-VK             Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                                  Desc
                                                      Main Document    Page 12 of 30


Debtor     Windsor Hayward Estates, LLC                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
MCKESSON                                                                                                                                                      $119,337.32
MEDICAL
SURGICAL
P.O. 690693
CINCINNATI, OH
45263-0693
SYSCO FOOD                                                                                                                                                      $53,004.96
SERVICES
PO BOX 138007
SACRAMENTO, CA
95813-8007
CORE ANALYTICS                                                                                                                                                  $15,852.25
LABORATORY INC
14735 CALIFA ST
VAN NUYS, CA
91411
ELAMS                                                                                                                                                           $15,375.00
CONSULTING &
INSPECTION
SERVICES
164 ROBLES WAY
#270
VALLEJO, CA 94591
DIRECT SUPPLY                                                                                                                                                   $14,113.72
EQUIPMENT
P.O. BOX 88201
MILWAUKEE, WI
53288
DIAGNOSTIC                                                                                                                                                      $13,634.66
LABORATORIES &
RADIOLOGY - AZ
PO BOX 676210
ATTN: CASH APPS
DALLAS, TX
75267-6210
POINTCLICKCARE                                                                                                                                                  $10,102.60
TECHNOLOGIES
INC.
PO BOX 674802
DETROIT, MI
48267-4802
ESTATE OF HOM                                                                                                                                                     $7,504.00
MITSUE
6933 QUEENSWOD
WAY
SAN JOSE, CA
95120
RAMAT MEDICAL                                                                                                                                                     $7,343.88
5812 W. PICO BLVD.
#A
LOS ANGELES, CA
90019


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                    Case 1:23-bk-11402-VK             Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                                  Desc
                                                      Main Document    Page 13 of 30


Debtor     Windsor Hayward Estates, LLC                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
SHRED IT USA INC                                                                                                                                                  $6,267.60
28883 NETWORK
PLACE
CHICAGO, IL
60673-1288
CURASPAN                                                                                                                                                          $6,150.00
HEALTH GROUP,
INC.
PO BOX 744204
ATLANTA, GA
30374-4204
HENRY C. LEVY,                                                                                                                                                    $5,926.54
TAX COLLECTOR,
ALAMEDA C
1221 OAK STREET
ROOM 131
OAKLAND, CA
94612-4285
AXIOM                                                                                                                                                             $5,100.00
HEALTHCARE
GROUP
2351 SUNSET BLVD
STE 170-897
ROCKLIN, CA 95765
INTERACTIVE                                                                                                                                                       $4,832.34
MEDICAL SYSTEMS
PO BOX 843789
LOS ANGELES, CA
90084-3789
ABSOLUTE BEST                                                                                                                                                     $4,500.00
CARE
4425-C TREAT
BLVD SUITE 158
CONCORD, CA
94521




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
           Case 1:23-bk-11402-VK                     Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                                    Desc
                                                     Main Document    Page 14 of 30


                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
See attached list

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at                                                        , California.
                                                                                                     Avrohom Tress
Date:            September 29, 2023                                                                  Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
     Case 1:23-bk-11402-VK             Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                       Desc
                                       Main Document    Page 15 of 30

Pending Bankruptcy Cases of Affiliates         Case Number        Date Filed            Location
S&F Home Health Opco I, LLC                    1:23-bk-11201-VK        8/23/2023        Central District of California
S&F Hospice Opco I, LLC                        1:23-bk-11202-VK        8/23/2023        Central District of California
S&F Market Street Healthcare, LLC              1:23-bk-11203-VK        8/23/2023        Central District of California
Windsor Care Center National City, Inc.        1:23-bk-11204-VK        8/23/2023        Central District of California
Windsor Cheviot Hills, LLC                     1:23-bk-11206-VK        8/23/2023        Central District of California
Windsor Country Drive Care Center, LLC         1:23-bk-11207-VK        8/23/2023        Central District of California
Windsor Court Assisted Living, LLC             1:23-bk-11208-VK        8/23/2023        Central District of California
Windsor Cypress Gardens Healthcare, LLC        1:23-bk-11209-VK        8/23/2023        Central District of California
Windsor El Camino Care Center, LLC             1:23-bk-11210-VK        8/23/2023        Central District of California
Windsor Elk Grove and Rehabilitation, LLC      1:23-bk-11212-VK        8/23/2023        Central District of California
Windsor Elmhaven Care Center, LLC              1:23-bk-11213-VK        8/23/2023        Central District of California
Windsor Gardens Convalescent Hospital, Inc.    1:23-bk-11214-VK        8/23/2023        Central District of California
Windsor Hampton Care Center, LLC               1:23-bk-11215-VK        8/23/2023        Central District of California
Windsor Monterey Care Center, LLC              1:23-bk-11216-VK        8/23/2023        Central District of California
Windsor Rosewood Care Center, LLC              1:23-bk-11217-VK        8/23/2023        Central District of California
Windsor Sacramento Estates, LLC                To be assigned      Filed Concurrently   Central District of California
Windsor Skyline Care Center, LLC               1:23-bk-11218-VK        8/23/2023        Central District of California
Windsor Terrace Healthcare, LLC (Lead Case)    1:23-bk-11200-VK        8/23/2023        Central District of California
Windsor The Ridge Rehabilitation Center, LLC   1:23-bk-11219-VK        8/23/2023        Central District of California
Windsor Vallejo Care Center, LLC               1:23-bk-11220-VK        8/23/2023        Central District of California
          Case 1:23-bk-11402-VK                     Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49                                                    Desc
                                                    Main Document    Page 16 of 30
Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Ron Bender 143364
2818 La Cienega Avenue
Los Angeles, CA 90034
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 143364 CA
rb@lnbyg.com




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                            UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

In re:
                                                                                  CASE NO.:
            Windsor Hayward Estates, LLC
                                                                                  CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 14 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: September 29, 2023
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: September 29, 2023
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
    Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                            Main Document    Page 17 of 30


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M
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b
}




                       Windsor Hayward Estates, LLC
                       25919 Gading Road
                       Hayward, CA 94544


                       Ron Bender
                       Levene, Neale, Bender, Yoo & Golubchik L.L.P
                       2818 La Cienega Avenue
                       Los Angeles, CA 90034


                       U.S. Trustee San Fernando Valley
                       915 Wilshire Blvd.
                       Suite 1850
                       Los Angeles, CA 90017


                       21TH CENTURY WEB
                       GALA 15
                       LINK ROAD SADAR
                       MAHARASHTRA, INDIA


                       A 1 SEPTIC TANK SERVICE INC
                       1111 INDUSTRIAL PKY WEST
                       HAYWARD, CA 94544


                       ABSOLUTE BEST CARE
                       4425-C TREAT BLVD SUITE 158
                       CONCORD, CA 94521


                       ALAMEDA COUNTY ENVIRONMENTAL HEALTH
                       P.O. BOX N
                       ALMEDA, CA 94501-0108


                       ALAMEDA INPATIENT MEDICAL INC
                       2070 CLINTON AVENUE
                       ALAMEDA, CA 94501
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 18 of 30



                   ALLSTATE PLUMBING COMPANY
                   2000 WARM SPRING COURT
                   SUITE 2
                   FREMONT, CA 94539


                   ASHLEY CLINICAL DIAGNISTIC LABORATORY IN
                   5542 N FIGUEROA ST
                   LOS ANGELES, CA 90042


                   AXIOM HEALTHCARE GROUP
                   2351 SUNSET BLVD STE 170-897
                   ROCKLIN, CA 95765


                   BIOSCAPES INC
                   34383 ALVARADO-NILES RD #257
                   UNION CITY, CA 94587


                   BLC TRANSPORT LLC
                   2401 MERCED ST
                   SUITE 300
                   SAN LEANDRO, CA 94577


                   BRIGGS HEALTHCARE CORP
                   7887 UNIVERSITY BLVD
                   CLIVE, IA 50325


                   CA Dept of Health Care Services
                   Attn: Kenneth K Wang DOJ
                   300 S Spring St No 1702
                   Los Angeles, CA 90013


                   CAHF
                   2201 K ST.
                   SACRAMENTO, CA 95816
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 19 of 30



                   CALIFORNIA DEPART OF PUBLIC HEALTH
                   P.O. BOX 997434
                   MS 3202
                   SACRAMENTO, CA 95899-7434


                   CALIFORNIA DEPART OF PUBLIC HEALTH
                   CENTER FOR HEALTH CARE QUALITY
                   FISCAL MANAGEMENT BRANCH, MS3202
                   SACRAMENTO, CA 95899-7434


                   California Department of Insurance
                   Attorney General
                   302 S Spring St No 1704
                   Los Angeles, CA 90013


                   California Dept of Public Health
                   Office of the Attorney General
                   301 S Spring St No 1702
                   Los Angeles, CA 90013


                   CAREFEED INC.
                   430 READING RD
                   CINCINNATI, OH 45202


                   CDW DIRECT
                   P.O. BOX 75723
                   CHICAGO, IL 60673-5723


                   CENTERS FOR MEDICARE AND MEDICAID SERVIC
                   DIVISION OF ACCOUNTING OPERATIONS
                   MAIL STOP C3-11-03
                   BALTIMORE, MD 21207


                   CERTIFIED MEDICAL WASTE, LLC
                   2600 EXECUTIVE PKWY #360
                   LEHI, UT 84043
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 20 of 30



                   CERTIPHI SCREENING INC
                   PO BOX 1675
                   SOUTHAMPTON, PA 18966


                   CITY OF LOS ANGELES BUREAU OF SANITATION
                   INDUSTRIAL WASTE MGT DIVISION
                   2714 MEDIA CENTER DRIVE
                   LOS ANGELES, CA 90065


                   CMS OF HOLLAND
                   P.O. BOX 819
                   HOLLAND, OH 43528-0819


                   COMMUNITY MOBILE DIAGNOSTICS
                   PO BOX 676210
                   DALLAS, TX 75267-6210


                   CORE ANALYTICS LABORATORY INC
                   14735 CALIFA ST
                   VAN NUYS, CA 91411


                   CORE ANALYTICS RADIOLOGY INC
                   14735 CALIFA ST
                   VAN NUYS, CA 91411


                   CORPORATION SERVICE COMPANY
                   251 LITTLE FALLS DRIVE
                   WILMINGTON, DE 19808


                   CURASPAN HEALTH GROUP, INC.
                   PO BOX 744204
                   ATLANTA, GA 30374-4204
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 21 of 30



                   DELAWARE SECRETARY OF STATE
                   DIVISION OF CORPORATIONS
                   PO BOX 5509
                   BINGHAMTON, NY 13902


                   Department of Health and Human Services
                   Federal Building
                   300 N Los Angeles St, Ste 7516
                   Los Angeles, CA 90012


                   DEPARTMENT OF HEALTH CARE
                   ACCESS AND INFORMATION
                   2020 WEST EL CAMINO AVE
                   SUITE 1000
                   SACRAMENTO, CA 95833


                   DEPARTMENT OF HEALTH CARE SERVICES
                   MS 1101 PO BOX 997415
                   SACRAMENTO, CA 95899-7415


                   DIAGNOSTIC LABORATORIES & RADIOLOGY - AZ
                   PO BOX 676210
                   ATTN: CASH APPS
                   DALLAS, TX 75267-6210


                   DIRECT SUPPLY EQUIPMENT
                   P.O. BOX 88201
                   MILWAUKEE, WI 53288


                   DIRECT TV
                   P.O. BOX 105249
                   ATLANTA, GA 30348-5249


                   DJK COUNSEL LTD
                   1925 CENTURY PARK EAST ST 810
                   LOS ANGELES, CA 90067
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 22 of 30



                   ELAMS CONSULTING & INSPECTION SERVICES
                   164 ROBLES WAY #270
                   VALLEJO, CA 94591


                   Employment Development Dept.
                   Bankruptcy Group MIC 92E
                   P.O. Box 826880
                   Sacramento, CA 94280-0001


                   ENDEAVOUR
                   45949 WARM SPRINGS BLVD
                   FREMONT, CA 94539


                   ENTECH MEDICAL CORPORATION
                   1910 D STREET
                   LA VERNE, CA 91750


                   ESTATE OF HOM MITSUE
                   6933 QUEENSWOD WAY
                   SAN JOSE, CA 95120


                   FIRE SAFETY SERVICE INC
                   622 W MILL AVENUE
                   COUER D ALENE, ID 83814


                   Franchise Tax Board
                   Bankruptcy Section, MS: A-340
                   P.O. Box 2952
                   Sacramento, CA 95812-2952


                   FRANCHISE TAX BOARD
                   P.O. BOX 942857
                   SACRAMENTO, CA 94257
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 23 of 30



                   GRAINGER-DEPT 886308907
                   DEPT 886308907
                   PALATINE, IL 60038


                   H D SUPPLY FACILITIES MAINT
                   PO BOX 509058
                   SAN DIEGO, CA 92150-9058


                   HARRIS STATIONERS INC
                   8441 Canoga Avenue
                   Canoga Park, CA 91304


                   HEALTHCARE SERVICES GROUP INC
                   3220 TILLMAN DR
                   SUITE 300
                   BENSALEM, PA 19020


                   HEIN LIGHTING & ELECTRIC INC
                   5030 BLUM ROAD
                   MARTINEZ, CA 94553


                   HENRY C. LEVY, TAX COLLECTOR, ALAMEDA C
                   1221 OAK STREET
                   ROOM 131
                   OAKLAND, CA 94612-4285


                   HPSI MENU SERVICES
                   1 ADA
                   SUITE 150
                   IRVINE, CA 92618-5338


                   IDENTITY LINKS
                   6211 W HOWARD ST
                   NILES, IL 60714
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 24 of 30



                   INTERACTIVE MEDICAL SYSTEMS
                   PO BOX 843789
                   LOS ANGELES, CA 90084-3789


                   Internal Revenue Service IRS
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346


                   IRON MECHANICAL, INC
                   721 NORTH B ST, SUITE 100
                   SACRAMENTO, CA 95811


                   LANGUAGE LINE SERVICES
                   P.O. BOX 202564
                   DALLAS, TX 75320


                   LISBOA ALFREDO
                   27475 HESPERIAN BLVD.
                   181
                   HAYWARD, CA 94545-4255


                   LOS ANGELES COUNTY TAX COLLECT
                   225 NORTH HILL STREET
                   ROOM 122
                   LOS ANGELES, CA 90012


                   Los Angeles County Tax Collector
                   P.O. Box 54110
                   Los Angeles, CA 90054-0110


                   LOS ANGELES COUNTY TAX COLLECTOR
                   P.O. BOX 54018
                   LOS ANGELES, CA 90054-0018
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 25 of 30



                   MARIA SUSANA MORALES
                   28207 ARMOUR ST
                   HAYWARD, CA 94545


                   MCKESSON MEDICAL SURGICAL
                   P.O. 690693
                   CINCINNATI, OH 45263-0693


                   MICHELLI MEASUREMENT GROUP INC
                   130 BROOKHOLLOW ESPLANADE
                   HARAHAN, LA 70123


                   MidCap Funding IV Trust, as Agent
                   Attn: Matthew Pappano
                   7255 Woodmont Ave., Suite 200
                   Bethesda, MD 20814


                   MONTEREY COUNTY ENVIRONMENTAL
                   HEALTH BUREAU
                   1270 Natividad Road
                   SALINAS, CA 93906


                   MONTEREY COUNTY TAX COLLECTOR
                   P O BOX 891
                   SALINAS, CA 93902-0891


                   NERI ROSE MELLIZO-QUILLOPO
                   214 LADERA PLAZA
                   UNION CITY, CA 94587


                   NETSMART TECHNOLOGIES INC
                   PO BOX 713519
                   PHILADELPHIA, PA 19171
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 26 of 30



                   NEW HORIZON COMMUNICATION CORP
                   PO BOX 981703
                   BOSTON, MA 02298


                   OCCUPATIONAL HEALTH CENTERS
                   P.O. BOX 3700
                   RANCHO CUCAMONGA, CA 91729


                   ONE ACCESS MEDICAL TRANSPORTATION
                   7887 ENTERPRISE DR
                   UNIT A
                   NEWARK, CA 94560


                   Oxford Finance LLC, As Agent
                   Attn: Patrick McLenahan
                   115 S. Union Street, Suite 300
                   Alexandria, VA 22314


                   POINTCLICKCARE TECHNOLOGIES INC.
                   PO BOX 674802
                   DETROIT, MI 48267-4802


                   PORTER ONE DESIGN
                   37680 HILLS TECH DR
                   FARMINGTON HILLS, MI 48331


                   POWER PLUS
                   5500 E PALMA AVE.
                   ANAHEIM, CA 92807


                   PRIME CARE TECHNOLOGIES INC
                   6650 SUGARLOAF PARKWAY
                   SUITE 400
                   DULUTH, GA 30097
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 27 of 30



                   PROGUARD SERVICE AND SOLUTIONS
                   PO BOX 100512
                   PASADENA, CA 91189-0512


                   QUADIENT FINANCE USA INC
                   PO BOX 6813
                   CAROL STREAM, IL 60197


                   RAMAT MEDICAL
                   5812 W. PICO BLVD.
                   #A
                   LOS ANGELES, CA 90019


                   REAL TIME MEDICAL
                   PO BOX 645852
                   PITTSBURGH, PA 15264


                   REHASTE HARVEY WILSON & SALAMOFF LLP
                   1221 E DYER ROAD
                   SUITE 200
                   SANTA ANA, CA 92705


                   RJ10 CONSULTING LLC
                   21601 VANOWEN ST
                   SUITE 109
                   Canoga Park, CA 91303


                   SAN JOAQUIN COUNTY
                   ENVIRONMENTAL HEALTH DEPARTMENT
                   1868 E HAZELTON
                   STOCKTON, CA 95205


                   Secretary of the U.S. Dept of Health and
                   Human Services on behalf of the Centers
                   for Medicare and Medicaid Services
                   300 N Los Angeles St, Ste 7516
                   Los Angeles, CA 90012
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 28 of 30



                   SELECT REHABILITATION
                   PO BOX 71985
                   CHICAGO, IL 60694-1985


                   SEYFARTH SHAW LLP
                   2029 CENTURY PARK EAST
                   SUITE 3500
                   LOS ANGELES, CA 90067


                   SHRED IT USA INC
                   28883 NETWORK PLACE
                   CHICAGO, IL 60673-1288


                   SIZEWISE
                   P.O. BOX 320
                   ELLIS, KS 67637


                   SKILLED NURSING PHARMACY
                   16666 E. JOHNSON DRIVE
                   SUITE C
                   CITY OF INDUSTRY, CA 91745


                   SOME THINGS FISHY LLC
                   16310 SHANNON RD
                   LOS GATOS, CA 95032


                   STAPLES ADVANTAGE
                   PO BOX 660409
                   DALLAS, TX 75266


                   State Board of Equalization
                   Account Info Group, MIC:29
                   P.O. Box 942879
                   Sacramento, CA 94279-0029
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 29 of 30



                   SWIFT INK LLC
                   47526 CLIPPER ST #700363
                   PLYMOUTH, MI 48170


                   SYSCO FOOD SERVICES
                   PO BOX 138007
                   SACRAMENTO, CA 95813-8007


                   THE PAUL REVERE LIFE INSURANCE COMPANY
                   1 FOUNTAIN SQUARE
                   CHATTANOOGA, TN 37402-1330


                   THE SSI GROUP LLC
                   DEPT 2455
                   P.O. BOX 11407
                   BIRMINGHAM, AL 35246-2455


                   TWIN MED INC
                   P.O. BOX 847340
                   LOS ANGELES, CA 90084-7340


                   US FOODS
                   PO BOX 842475
                   LOS ANGELES, CA 90084-2475


                   VECMAR CORPORATION
                   7595 JENTHER DRIVE
                   MENTOR, OH 44060


                   WASH IQ LLC
                   7351 GALILEE ROAD
                   SUITE 100
                   ROSEVILLE, CA 95678
Case 1:23-bk-11402-VK   Doc 1 Filed 09/29/23 Entered 09/29/23 15:17:49   Desc
                        Main Document    Page 30 of 30



                   WELLSKY CORPORATION
                   PO BOX 200086
                   DALLAS, TX 75320-0086


                   XCHIVE BUSINESS INTELLIGENCE INC
                   PO BOX 3221
                   GRASS VALLEY, CA 95945
